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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                    Case No. 96-CR-20063-BC

VENTON DALE TALLEY,

             Defendant.
                                                 /

                  ORDER HOLDING MATTER IN ABEYANCE AND
                DIRECTING SUBMISSION OF AN UPDATED REPORT

      The matter is before the court on the motion of Defendant Venton Dale Talley for

a possible reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2). The court has

calculated that Defendant’s earliest possible release date is not until August of 2010.

The court has determined that it should address those motions involving defendants

with earlier possible release dates before reaching defendants whose potential release

dates are in 2010 or later. This determination is primarily based on considerations of

judicial economy but will also allow the court to consider Defendant’s future conduct

when the matter is ready for review. Accordingly,

      IT IS ORDERED that this matter is HELD IN ABEYANCE pending further order of

the court. IT IS FURTHER ORDERED that the probation department is DIRECTED to

prepare and submit an updated § 1.B1.10 Report on December 29, 2009.


                                          s/Robert H. Cleland
                                         ROBERT H. CLELAND
                                         UNITED STATES DISTRICT JUDGE
Dated: January 9, 2009
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I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, January 9, 2009, by electronic and/or ordinary mail.

                                                          s/Lisa Wagner
                                                         Case Manager and Deputy Clerk
                                                         (313) 234-5522




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